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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


Consumer Financial Protection Bureau,

                Plaintiff,
       v.

MoneyLion Technologies Inc., ML Plus, LLC, MoneyLion of
Alabama LLC, MoneyLion of Arizona LLC, MoneyLion of
California LLC, MoneyLion of Colorado LLC, MoneyLion of
Connecticut LLC, MoneyLion of Delaware LLC, MoneyLion
of Florida LLC, MoneyLion of Georgia LLC, MoneyLion of
Idaho LLC, MoneyLion of Illinois LLC, MoneyLion of Indiana
LLC, MoneyLion of Kansas LLC, MoneyLion of Kentucky
LLC, MoneyLion of Louisiana LLC, MoneyLion of Maryland                No. 1:22-CV-8308-JPC
LLC, MoneyLion of Michigan LLC, MoneyLion of Minnesota
LLC, MoneyLion of Mississippi LLC, MoneyLion of Missouri              Judge John P. Cronan
LLC, MoneyLion of Nevada LLC, MoneyLion of New Jersey
LLC, MoneyLion of New Mexico LLC, MoneyLion of New
York LLC, MoneyLion of North Carolina LLC, MoneyLion of
North Dakota LLC, MoneyLion of Ohio LLC, MoneyLion of
Oklahoma LLC, MoneyLion of Oregon LLC, MoneyLion of
South Carolina LLC, MoneyLion of South Dakota LLC,
MoneyLion of Tennessee LLC, MoneyLion of Texas LLC,
MoneyLion of Utah LLC, MoneyLion of Virginia LLC,
MoneyLion of Washington LLC, MoneyLion of Wisconsin
LLC, and MoneyLion of Wyoming LLC,

                Defendants.

                      NOTICE OF MOTION AND MOTION TO DISMISS


       PLEASE TAKE NOTICE that, upon the accompanying Memorandum of Law in Support

of Defendants’ Motion to Dismiss the First Amended Complaint, Defendants will move this Court,

before the Honorable John P. Cronan, at the Daniel Patrick Moynihan United States Courthouse,

500 Pearl Street, New York, New York 10007, on a date and time to be determined by the Court,

for an Order dismissing all claims in this action with prejudice pursuant to Rule 12(b)(6) of the
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Federal Rules of Civil Procedure. Defendants also ask the Court to grant further relief in

connection with the dismissal as the Court deems just and proper.

       PLEASE TAKE FURTHER NOTICE, that the Plaintiff’s opposition papers, if any, must

be served by August 18, 2023.

Dated: July 11, 2023
                                              Respectfully submitted,

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